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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

BRIAN D. JACKSON,                            )
Individually, and as Personal Representative )
of the Estate of Doris Jackson, Deceased,    )
                                             )
               Plaintiff,                    )             Case No: 1:15-cv-01066 (TFH)
v.                                           )
                                             )
COLGATE-PALMOLIVE COMPANY,                   )
                                             )
               Defendant.                    )
______________________________________ )

          COLGATE-PALMOLIVE COMPANY’S REPLY IN SUPPORT OF ITS
            MOTION IN LIMINE TO PRECLUDE ALL TESTIMONY AND
           EVIDENCE REGARDING PURPORTED TESTING OF TALC BY
             PLAINTIFF’S TESTING EXPERTS BECAUSE OF LACK OF
              AUTHENTICITY AND RELEVANCE OF TALC TESTED

       Defendant Colgate-Palmolive Company (“Colgate”), by its undersigned counsel,

respectfully submits this reply in support of its motion in limine to preclude all testimony and

evidence regarding purported testing of talc by Plaintiff’s testing experts because of lack of

authenticity and relevance of talc tested.

                                        INTRODUCTION

       In his Opposition brief, Plaintiff makes no attempt to document the chain of custody of

any purported sample of Cashmere Bouquet talcum powder. Put another way, Plaintiff cannot

tell this Court or a jury what happened to any purported sample between the time those samples

left Colgate’s manufacturing facility and decades later, when Plaintiff’s lawyers took possession

of them. Plaintiff has no foundation in law (other than a false equivalency) to support his

argument that Colgate has somehow waived the ability to argue that these samples are not

authentic.
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       At bottom, Plaintiff cannot explain or give any indication whether any of the containers

has been tampered with, or tainted with asbestos particles from the ambient air, over the course

of decades. Plaintiff asks the Court to excuse that failure because his case will be “irreparably

harmed” if Colgate’s Motion is granted. This is no reason to ignore the law’s demand for

authentic evidence, or Plaintiff’s burden to establish a chain of custody for the materials he

intends to rely on at trial. Colgate’s Motion should be granted.

                                          ARGUMENT

I.     COLGATE HAS NOT WAIVED ITS ARGUMENTS OR ADMITTED TO THE
       AUTHENTICITY OF THESE SAMPLES

       Plaintiff never denies in his Opposition that the chain of custody for the product

containers is completely unknown for a period of decades. That is now undisputed. Plaintiff

therefore resorts to asserting that Colgate is estopped from challenging the authenticity of the

containers. Opp. at 4, 6-10. There is no proper basis for that claim.

       First, Colgate’s decision to produce product containers in its possession, as it was

required to do to fulfill its discovery obligations, in no way amounts to an “admission” that those

containers hold Cashmere Bouquet talcum powder in its original condition. “A party’s duty to

produce documents [or tangible things] . . . applies to responsive documents [or tangible things]

in its ‘possession, custody, or control.’ They must be produced regardless of their authenticity,

accuracy, or reliability, so the act of production does not say anything about authenticity,

accuracy, or reliability.   Those are matters for follow-up requests for admissions or other

discovery tools.” Castro v. DeVry Univ., Inc., 786 F.3d 559, 578-79 (7th Cir. 2015). See also

Clark v. County of Tulare, 775 F. Supp. 2d 1075, 1102 (E.D. Cal. 2010) (“Documents [or

tangible things] produced in discovery are not generally self-authenticating, and it is plaintiff’s

burden to establish the authentication of each document [or tangible thing] presented as



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evidentiary support. . . . Merely producing a document [or tangible thing] in discovery does not

‘authenticate it.’”); Cramer v. NEC Corp. of Am., 496 Fed. Appx. 461, 463-464 (5th Cir. 2012)

(“The discovery request was too broad to provide evidence of authenticity, the document itself

bears no indication of authenticity, and Merryman’s deposition testimony was noncommital. We

therefore hold that the district court did not abuse its discretion in excluding the document.”).

Plaintiff never challenges Colgate’s showing that these containers, far from having a verified

chain of custody and confirmed authenticity, were collected from an array of sources, including

garage sales and antique stores over a period of decades. Colgate’s “mere act of producing”

these containers “does not amount to an admission of [] authenticity,” and Colgate’s compliance

with its discovery obligations cannot be held against it in the manner that Plaintiff is proposing.

Castro, 786 F.3d at 578.

       Second, contrary to Plaintiff’s assertion, Colgate has not “admitted” the authenticity of

what was in the historical containers because its experts published an article describing testing

they performed on those samples.1 Opp. at 6-7. The authors of this article, Assessment of Health

Risk from Historical use of Cosmetic Talcum Powder, far from confirming the provenance of the

talcum powder used in that study, made clear that those samples were “open and previously

used” as of the time the authors obtained them, and that their “provenance . . . could not be

confirmed with certainty.” Pl.’s Ex. 5, ECF No. 57-9 (Anderson, Assessment of Health Risk

from Historical Use of Cosmetic Talcum Powder) at 4. Even according to Plaintiff, the authors


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   Plaintiff claims that Colgate is “hypocritical,” among other reasons, because it is planning to
present its own testing as evidence, while seeking to exclude the testing by Plaintiff’s experts.
Opp. at 5. In fact, Colgate’s view is that the samples, and all testing, should be precluded for all
purposes, and that neither side should be permitted to present the results of their experts’ testing
on those samples. Mot. at 22 (requesting that this Court “preclude the product samples”). If the
Court declines to preclude those samples, however, then Colgate would plan to present its own
expert analysis in order to rebut the testimony of Plaintiffs’ experts.


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merely “accepted this assumption [of authenticity] for purposes of th[eir] analysis.” Opp. at 8.

The reason the authors accepted that assumption is because they were assigned, not to evaluate

the authenticity of the samples, but to provide a scientific critique of the product testing

performed by Plaintiff’s proffered expert, Sean Fitzgerald, who relied on a “glove box” to

approximate purported asbestos exposures resulting from the use of cosmetic talcum powder.2 In

other words, Colgate’s attorneys assigned Colgate’s experts to develop an independent basis,

separate from authenticity, to challenge Mr. Fitzgerald’s product testing. Thus, Colgate in no

way abandoned or contradicted its long-held view that none of the “samples” of Cashmere

Bouquet can be authenticated.        Rather, like any prepared litigant, Colgate pursued other

substantive defenses that would permit it to challenge Plaintiff’s expert testing in the event that

testing was not excluded—as it has now been excluded by multiple courts—on authenticity

grounds. Plaintiff’s rule would be that Colgate may only make one argument, and that it is

estopped from making any arguments in the alternative. Not only does this proposition have no

support in the case law, it has no basis in common sense or good lawyering.

       Third, Colgate has never “admitted” the authenticity of the decades-old samples in other

litigation. Rather, Colgate agreed only “not to challenge authenticity” in a separate New York

proceeding, and it did so only at the trial judge’s express request to avoid mooting a Frye hearing


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  It is telling to note that Plaintiff makes much of the fact Colgate is paying for its own experts to
conduct tests and have the results published when his own experts have done exactly the same
thing. The Gordon, et al. article was published in a journal called the “International Journal of
Occupational and Environmental Health.” David S. Egilman, a repeat plaintiffs’ expert in
asbestos litigation, is the Editor-in-Chief of this Journal, and Arthur Frank, another well-known
plaintiffs’ expert, is on the editorial board. See Taylor & Francis Online, Editorial Board,
available       at   http://www.tandfonline.com/action/journalInformation?show=editorialBoard&
journalCode=yjoh20. The three co-authors—Dr. Gordon, Mr. Fitzgerald, and Dr. Millette—are
all long-time plaintiffs’ experts in asbestos litigation. All five individuals have been disclosed as
proffered experts by plaintiffs making asbestos-related allegations concerning Colgate’s
Cashmere Bouquet talcum powder.


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that the judge had determined to hold—a hearing in which Colgate subsequently prevailed. Ex.

43 (MD Preclusion Order) at 19-20 & n.10; In re New York City Asbestos Litig. No. 107211/08,

2013 WL 6985407, *1-2, *4-7 (N.Y. Sup. Ct. Nov. 26, 2013). Even then, Colgate agreed not to

challenge authenticity “without prejudice to either side.” Id.

        Thus, Colgate never stipulated that the samples were authentic. To the contrary, Colgate

agreed, at the trial judge’s request, not to challenge authenticity “notwithstanding claimed chain-

of-custody concerns.”      Ex. 42 (Order, Bernard v. Brookfield Properties Corp., et al.. No.

190070/11 (N.Y. Sup. Ct. Jan. 8, 2016)) at *2, n.3. And because Colgate’s agreement was made

“without prejudice” to renewal of its chain of custody arguments, Colgate had no obligation to

seek relief from its “stipulation.”    There is no “knowing or voluntary” relinquishment of

Colgate’s right to challenge the authenticity of these samples in this case, or any other. United

States v. Olano, 507 U.S. 725, 733 (1993) (defining waiver). Plaintiff’s argument simply

misstates what happened in that prior case, which was the conclusion reached by Judge Panos in

his analysis of this very issue. Ex. 4 (MD Preclusion Order) at 19-20 (“[T]he Court finds that no

prior stipulation exists.”).

II.     PLAINTIFF’S EXPERT OPINIONS CANNOT BE HELPFUL TO THE JURY IF
        THEY ARE BASED ON UNRELIABLE “EVIDENCE”

        Plaintiff attempts to avoid his burden to demonstrate that the samples are authentic by

arguing that they will not be offered as evidence, but merely as expert reliance material, and are

therefore not subject to the ordinary rules of admissibility. Opp. at 26-30. Chain of custody is

not irrelevant to expert testimony, however, for the fundamental reason that experts must have a

“reliable” foundation for their testimony. Indeed, without an adequate chain of custody, physical

3
 To prevent repetition, Colgate references the exhibits as numbered in its initial Motion. Any
additional exhibits are attached to this Reply and the numbering of those exhibits continues
where the Motion ended.


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samples are inherently unreliable and therefore improper reliance material for expert testimony

under Federal Rule of Evidence 702. See DL v. Dist. of Columbia, 109 F. Supp. 3d 12, 30

(D.D.C. 2015) (noting that expert must apply “reliable methodology to the inadmissible

materials, rather than simply ‘transmit’ the hearsay to the jury”); Groobert v. Pres. & Dirs. Of

Georgetown Coll., 219 F. Supp. 2d 1, 6 (D.D.C. 2002) (requiring expert’s conclusion to be based

on “good grounds”); Sommerfield v. City of Chicago, 254 F.R.D. 317, 324 (N.D. Ill. 2008)

(“N]otwithstanding the wide latitude accorded experts in choosing the sources on which to base

opinions, those sources must be shown to be reliable.”) (citing Soden v. Freightliner Corp., 714

F.2d 498, 505 (5th Cir. 1983)); see also Lyman v. St. Jude Med. S.C., Inc., 580 F. Supp. 2d 719,

726 (E.D. Wis. 2008) (“[I]f the data underlying the expert’s opinion is so unreliable that no

reasonable expert could base an opinion on them, the opinion resting on that data must be

excluded.”).4 An expert’s opinion that unauthenticated talc samples contained asbestos is simply

irrelevant to whether authentic Cashmere Bouquet, in its original condition, contained asbestos.

       As discussed in its Motion, multiple courts in other jurisdictions have similarly reasoned

that testing performed on unauthenticated talc samples is not relevant to whether genuine

Cashmere Bouquet talcum powder contained asbestos, and thus have precluded the testing

experts’ testimony regarding the very same samples at issue here.          See, e.g., Ex. 3 (CA

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  This same reasoning applies to Plaintiff’s simplistic application of Federal Rule of Evidence
803(18). There, Plaintiff argues that because the testing results have been published, those
results are therefore forever immune from any attack on their underlying findings. Opp. at 30.
The fact that the test results have been published, however, has no bearing on whether the
material that was tested in those articles was authentic Cashmere Bouquet in its original
condition. And, indeed, there is no publication that has ever purported to make determination
with respect to the samples at issue in this case. Moreover, as Colgate had demonstrated
elsewhere, the testing described in those articles—even putting aside that there is no indication
that the samples were authentic—was performed according to unreliable scientific standards that
fail scrutiny under Daubert. See generally Colgate’s Mot. Summ. J. (ECF No. 46); Colgate’s
Daubert Mot. to Exclude Testimony of Pl’s Expert Sean Fitzgerald (ECF No. 48); Colgate’s
Daubert Mot. to Exclude Testimony of Pl.’s Expert Ronald Gordon (ECF No. 49).


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Preclusion Order) at 38:19-25 (“I don’t think it is reasonable for him [Mr. Fitzgerald] to rely

upon these containers where there is no testimony or evidence that would support a conclusion

that they contained the same amount – type of Cashmere Bouquet that the plaintiff allegedly was

exposed to in the ‘70s and in the 80s. It’s just a gap in logic. You know, there isn’t any science

to support him.”); Ex. 4 (MD Preclusion Order) at 28 (testing of same samples “excluded on

grounds of relevance” in light of “Plaintiffs’ inability to bear their burden to establish . . . the . . .

samples’ authenticity”); Ex. 5 (NJ Preclusion Order I) at 6 (excluding samples because plaintiff

failed to show foundational requirement, i.e., “an uninterrupted chain of possession”); Ex. 6 (NJ

Preclusion Order II) 227:18-25; 228:4-8 (excluding decades-old samples due to “break in the

chain of custody,” relying in part on “the definition of relevant evidence, as having a tendency . .

. to prove . . . any fact of consequence to the determination of the action”).

        These prior holdings were correct, and the danger that the product samples here are not in

the same condition as when they were manufactured and sold decades ago is very real. Plaintiff

creates the straw man argument that the only concern described by Colgate is that there was a

“conspiracy” to taint the samples, by numerous people in numerous locations, with asbestos.

Opp. at 5.     In fact, Colgate’s primary concern is different, and follows directly from the

testimony of Plaintiff’s own experts. Mr. Fitzgerald has testified that “asbestos is everywhere.”

Ex. 43 (June 6, 2016 pm Trial Tr.) at 51:10-24. Indeed, there are asbestos particles in the

ambient air, and there was plainly asbestos particles, of all types, in the asbestos-testing

laboratories where certain of these samples were maintained, opened and unsealed, for years. In

a case in which Plaintiff’s experts are claiming massive levels of contamination in Cashmere

Bouquet based on their findings of as few as one or two fibers in historic product samples, it is

critical those samples are truly in their original condition, to permit confidence that any findings




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of purported asbestos particles do not reflect contamination that could have occurred from the

ambient air, or from any number of possible sources in a world in which “asbestos is

everywhere,” over a period of decades.5

       In sum, testing performed on unauthenticated product samples, which have been

unaccounted for over a period of decades, is simply irrelevant to whether genuine Cashmere

Bouquet talcum powder actually contained asbestos at the time it was manufactured and sold to

consumers. Fed. R. Evid. 401; Sommerfield, 254 F.R.D. at 324. Because Plaintiff has failed to

show that the decades-old samples contained Cashmere Bouquet talcum powder in the same

condition as when it was manufactured, the testing experts’ opinions regarding those samples has

no tendency to show that Cashmere Bouquet was asbestos-containing when Plaintiff used it.

III.   PLAINTIFF’S PURPORTED “INDICIA OF RELIABILITY”                                  CANNOT
       AUTHENTICATE THE SAMPLES AS CASHMERE BOUQUET

       Instead of pointing this Court to evidence that establishes any kind of a chain of custody

for these containers, Plaintiff maintains that there are “reasonable indicia of trustworthiness and

reliability” supporting the inference that the material in those containers was Cashmere Bouquet

talcum powder. Opp. at 5. But, as shown below, none of those purported indicia provide any

basis for admitting these samples (or provide foundation for their experts to give opinions about

the asbestos content of Cashmere Bouquet talcum powder).

       First, it is misdirection for Plaintiff to argue that the package labeling is indicative of

authenticity. Opp. at 11-12. The actual containers themselves could possibly be authentic, but

the issue is whether those decades-old, opened and unsealed containers actually contained


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  In many instances, Dr. Gordon and Mr. Fitzgerald are claiming that there are tens of thousands
or millions of fibers of asbestos in Cashmere Bouquet based on a test in which they purportedly
reported a handful of asbestos fibers. See Colgate’s Daubert Mot. re Gordon, ECF No. 49, Ex.
30 at 4-5, 16-17; Colgate’s Daubert Mot. re Fitzgerald, ECF No. 48, Ex. 33 at 7.


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authentic, unaltered Cashmere Bouquet talcum powder. As explained above, Plaintiff fails to

make that showing, particularly given (1) the decades-long gaps in the containers’ chain of

custody; (2) Mr. Fitzgerald’s testimony that asbestos is “everywhere” in the environment, thus

raising the reasonable possibility that any contamination occurred well after manufacture and

resulted from exposure to the ambient air; and (3) the tendency of collectors to replace the

contents of containers with other talcum powder. See supra at 5-8.

       Second, Plaintiff attempts to bootstrap from his misreading of the historical testing on

Cashmere Bouquet to claim that the expert testing confirms authenticity of the samples because

those results demonstrate the presence of the same types of asbestos minerals as separately

confirmed through other evidence. Opp. at 13-14. This suggestion that Cashmere Bouquet

somehow had a “signature” for asbestos contamination is contradicted, first, by the repeated

testimony of Plaintiff’s experts that the mineral content of talcum powder, and Cashmere

Bouquet, is not in fact consistent, but varies.    Mot. at 14.   The Maryland court correctly

“express[ed] its concern regarding the inconsistency of the testing result,” noting that “[i]n at

least one test, Plaintiffs’ experts identified the presence of differing asbestos minerals in the

same sample.” Ex. 4 (MD Preclusion Order) at 19 & n.9. Mr. Fitzgerald’s results also varied

across samples; he reported different types of asbestos fibers from one sample to the next.

Compare Ex. 44 (Sean Fitzgerald Sept. 6, 2012 Report, “Analysis of Asbestos Releasability from

Cashmere Bouquet Dusting Powder”) (“Fitzgerald, Dusting Powder”) at 42 with Ex. 45 (Sean

Fitzgerald Sept. 6, 2012 Report, “Analysis of Asbestos Releasability from Cashmere Bouquet

Body Powder”) (“Fitzgerald, Body Powder Report”) at 4. And Mr. Fitzgerald’s purported

concentrations of fibers also differed dramatically: for one sample he claimed that 1.53 million

fibers were released in his glove box, Ex. 45 (Fitzgerald, Body Powder Report) at 6, but another




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had 53.6 million fibers released. Ex. 44 (Fitzgerald, Dusting Powder Report) at 7. The samples

thus did not have a “signature” level or type of contamination that could support authenticity,

and there is nothing about the results of the product testing by Plaintiff’s experts, which varied

widely, that provides any assurance that the samples that were analyzed consistent of actual

Cashmere Bouquet in its original condition.

       Third, the historical evidence that purportedly demonstrates “signature” contamination in

Cashmere Bouquet actually showed no contamination at all. As discussed in its Motions in

Limine to exclude Dr. Gordon and Mr. Fitzgerald and its Motion for Summary Judgment (and

the respective replies in support of those Motions filed contemporaneously with this Reply),

Colgate has debunked the notion that the historical testing referenced in Plaintiff’s Opposition

indicates that the source mines or historical testing indicates asbestos contamination.        See

generally Colgate’s Mot. Summ. J. (ECF No. 46); Colgate’s Daubert Mot. to Exclude Testimony

of Pl’s Expert Sean Fitzgerald (ECF No. 48); Colgate’s Daubert Mot. to Exclude Testimony of

Pl.’s Expert Ronald Gordon (ECF No. 49). Plaintiff cites testing by Drs. Rohl and Langer in

1976, which purportedly indicated nearly 20% asbestos contamination in a container of

Cashmere Bouquet. Opp. at 16. As an initial matter, that finding does not remotely resemble the

test results by Plaintiff’s experts, which purports to show only trace contamination, and thus

contradicts Plaintiff’s claim that the results of their expert testing is so closely aligned with

historical findings that it must relate to the same unaltered material. See supra at 9. But perhaps

more importantly, that finding, which Plaintiff seeks to bootstrap as a basis to admit the faulty

modern-day testing by his experts, has been roundly rejected by no lesser authorities than the

FDA and World Health Organization.          Colgate’s Mot. Summ. J. (ECF No. 46) at 13-14

(collecting citations from FDA and WHO criticizing Rohl’s findings).



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       Fourth, Plaintiff wrongly maintains that the samples “must be” authentic because Mr.

Fitzgerald has published an article reporting on testing performed as litigation experts retained in

actions against Colgate. Opp. at 19-20. Far from confirming that the samples are authentic

Cashmere Bouquet, the Article does not even identify Cashmere Bouquet as the “specific brand

of talc” tested. Pl.’s Ex. 7 (Gordon, Fitzgerald, Millette 2014) at 3. There is also nothing in the

Article that describes any analysis that sought to address the decades-long gaps in chain of

custody upon which multiple courts have relied to preclude Mr. Fitzgerald’s testing opinions. Id.

The authors made an assumption that the samples were authentic and that each container was

filled with material from the same company, but have no evidence to support that proposition.

       Fifth, Plaintiff once again argues post hoc, ergo propter hoc by arguing that based upon

the faulty and unreliable testing of Ms. Jackson’s lymph nodes, all samples of Cashmere Bouquet

must be authentic. Opp. at 17. But to say that Ms. Jackson had asbestos in her system is not to

say that Cashmere Bouquet was the source of that asbestos; Plaintiff’s argument begs that

question entirely. To the extent Dr. Gordon’s analysis is at all relevant, it actually undercuts any

finding of authenticity. See Colgate’s Mot. in Limine re “Each and Every” Exposure Testimony

(ECF No. 47) at 12-14 (describing how Plaintiff’s experts have found no asbestos of any type in

Ms. Jackson’s body above background levels).6 Despite spending pages in his opposition to

point out instances in which anthophyllite was purportedly found in Cashmere Bouquet, Opp. at

13-16, Plaintiff fails to reconcile this allegation with the fact that Plaintiff’s expert, Ronald

Gordon, found zero anthophyllite fibers in Ms. Jackson’s lung and lymph node tissue. Colgate’s

Mot. in Limine re “Each and Every” Exposure Testimony (ECF No. 47) at 9 (collecting

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  As pointed out elsewhere, Colgate vigorously contends that the “tremolite” found in Ms.
Jackson’s lymph node is carcinogenic asbestiform tremolite. See Colgate’s Opp. to Pl.’s Mot. to
Exclude Colgate Witness Drew Van Orden’s Conclusions that Tremolite Found in Doris
Jackson’s Tissue is “Non-Asbestos.” ECF No. 56.


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citations). Yet, Plaintiff’s own medical causation expert, Dr. Richard Kradin, admitted in this

case that he would expect to find anthophyllite in Ms. Jackson’s lung and lymph node tissue

because it persists in tissue for decades. See Colgate’s Mot. in Limine re “Each and Every”

Exposure Testimony (ECF No. 47) at 6, 38-39.              Plaintiff cannot explain this glaring

inconsistency.

        Finally, Plaintiff argues that chain of custody only applies after a person comes into

possession of evidence. Opp. at 30-31. This makes sense in the criminal context, as nobody

would care what happened to a knife used in a murder before the stabbing happened – all the

Court (and justice) are concerned with is whether someone had tampered with the knife after it

had been used to commit the murder. Here, Plaintiff is essentially making the claim that the

Cashmere Bouquet that Doris Jackson used was contaminated with asbestos at the time it left

Colgate’s manufacturing facility. Therefore, the operative time period for which Plaintiff must

account the custody for these samples extends from the moment of manufacture to the moment

they arrived in the Plaintiff’s experts’ laboratory for testing several decades later. As has been

catalogued in Colgate’s Motion and this Reply, there are yawning gaps in the account of what

happened to any of these samples from their moment of manufacture to when they became

involved in this litigation. The samples cannot be authenticated and this Court should exclude all

of them at the trial of this matter.

                                          CONCLUSION

        For the foregoing reasons, and those set forth in Colgate’s moving papers, Colgate

respectfully requests that its motion be granted and that this Court should preclude all testimony

and evidence regarding the talc tested.




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                            Respectfully submitted,

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